Case 1:18-cv-00477-LEK-RT Document 51 Filed 04/05/19 Page 1 of 1                PageID #: 287

                                      MINUTES



  CASE NUMBER:            CIVIL NO. 18-00477LEK-RT
  CASE NAME:              A. B. And T. T. Vs. Hawaii State Department of Education
                          Oahu Interscholastic Association
  ATTYS FOR PLA:          Jongwook Philip Kim
                          Mateo Caballero
  ATTYS FOR DEFT:         John M. Cregor, Jr.
                          Lyle S. Hosoda
                          Lauren M. Nakamura
  INTERPRETER:


        JUDGE:      Leslie E. Kobayashi           REPORTER:        Debi Read

        DATE:       04/05/2019                    TIME:            9:45-10:03


 COURT ACTION: EP: [22] MOTION to Dismiss Plaintiffs A.B., by her parents and
 next friends, C.B. and D.B., and T.T., by her parents and next friends, K.T. and S.T.'s
 Complaint for Declaratory and Injunctive Relief, filed herein on December 6, 2018.

 Arguments heard. Motion is Denied and terminated. Court to issue Order.

 Submitted by: Warren N. Nakamura, Courtroom Manager
